               Case
10/4/22, 5:08 PM       2:22-cv-12364-SJM-EAS           ECF
                                    Elizabeth Abdnour Law Mail No.   1-2,
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                                                                          obligations              Filed
                                                                                      after receiving notice 10/04/22
                                                                                                             of a potential titlePage     1 of 2
                                                                                                                                 IX violation



                                                                                                        Elizabeth Abdnour <elizabeth@abdnour.com>



 Schools' obligations after receiving notice of a potential title IX violation
 Travis Comstock <tcomstock@gmhlaw.com>                                                                                              Fri, Jul 22, 2022 at 3:07 PM
 To: Elizabeth Abdnour <elizabeth@abdnour.com>


    Yeah, was looking at couple of sites about this. It piqued my curiosity. Title IX is not my specialty, so my
    comment was simply what my client rep told me. Probably in error to make it sound definitive when I was
    unsure myself.


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    From: Elizabeth Abdnour <elizabeth@abdnour.com>
    Sent: Friday, July 22, 2022 3:05 PM
    To: Travis Comstock <tcomstock@gmhlaw.com>
    Subject: Schools' obligations after receiving notice of a potential title IX violation



    https://www.law.cornell.edu/cfr/text/34/106.44



    A recipient with actual knowledge of sexual harassment in an education program or
    activity of the recipient against a person in the United States, must respond promptly
    in a manner that is not deliberately indifferent. A recipient is deliberately indifferent
    only if its response to sexual harassment is clearly unreasonable in light of the known
    circumstances. For the purposes of this section, §§ 106.30, and 106.45, “education
    program or activity” includes locations, events, or circumstances over which the
    recipient exercised substantial control over both the respondent and the context in
    which the sexual harassment occurs, and also includes any building owned or
    controlled by a student organization that is officially recognized by a postsecondary
    institution. A recipient's response must treat complainants and respondents equitably
    by offering supportive measures as defined in § 106.30 to a complainant, and by
    following a grievance process that complies with § 106.45 before the imposition of any
    disciplinary sanctions or other actions that are not supportive measures as defined
    in § 106.30, against a respondent. The Title IX Coordinator must promptly
    contact the complainant to discuss the availability of supportive measures as

https://mail.google.com/mail/u/1/?ik=5c7c9d16a2&view=pt&search=all&permmsgid=msg-f%3A1739080956010208049&dsqt=1&simpl=msg-f%3A1739080956010… 1/2
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                                                                                                    of a potential titlePage     2 of 2
                                                                                                                        IX violation

    defined in § 106.30, consider the complainant's wishes with respect
    to supportive measures, inform the complainant of the availability
    of supportive measures with or without the filing of a formal complaint, and
    explain to the complainant the process for filing a formal complaint.


    --


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